                 Case 1:02-cr-05301-DAD Document 594 Filed 11/15/06 Page 1 of 1


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            7                           IN THE UNITED STATES DISTRICT COURT
            8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
            9                                                *****
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                                                     )
                                                     )          CASE NO. CR-F-02-5301 OWW
           11    UNITED STATES OF AMERICA,
                                                     )
           12
                                                     )          ORDER TO UNSEAL EXHIBITS AND
                       Plaintiff,                    )
                 vs.                                 )          DOCUMENTS FOR APPELLATE REVIEW.
           13
                                                     )
                                                     )
           14    DANIEL BOOBAR                       )
           15
                                                     )
                       Defendant.                    )
           16    ___________________________________ )

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                       The Court, having reviewed sealed documents associated with docket entries 222, 223, 227

           18   and sealed exhibits associated with docket entry 514, finds them suitable to be unsealed for review
           19
                by appellate counsel for the defendant.
           20
                       IT IS HEREBY ORDERED that the sealed documents and exhibits identified by docket
           21
                entries 222, 223, 227 and 514 be unsealed and released to attorney JOAN JACOBS LEVIE,
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           23   counsel for Appellant, DANIEL BOOBAR, forthwith.

           24
                DATED: 11/14/06
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                                                                      /s/ Oliver W. Wanger
           27                                                         OLIVER W. WANGER
                                                                      Judge of the United States District Court
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